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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
STEPHEN ELLICOTT,                          )
                                           )
      Plaintiff,                           )
v.                                         )   Civil Action No. 14-CV-12152
                                           )
AMERICAN CAPITAL ENERGY, INC.,             )
THOMAS HUNTON and ARTHUR                   )
HENNESSEY,                                 )
                                           )
      Defendants,                          )
                                           )
and                                        )
                                           )
REDWOOD SOLAR DEVELOPMENT, LLC,            )
                                           )
      Reach and Apply Defendant.           )
_________________________________________)

                     PLAINTIFF’S PROPOSED VERDICT FORM

      Plaintiff Stephen Ellicott hereby submits his proposed Jury Verdict Form.



December 21, 2016                                 Respectfully submitted,

                                                  STEPHEN ELLICOTT,

                                                  By his attorneys,

                                                  /s/ Anthony L. DeProspo, Jr.
                                                  Christopher A. Kenney (BBO# 556511)
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                       JURY VERDICT QUESTIONNAIRE

1.   BREACH OF CONTRACT

     A.   Did Mr. Ellicott and Defendant American Capital Energy, Inc. have an
          enforceable contract?

          YES_____________                      NO______________

          If you answered “YES” to Question 1(A), proceed to Question 1(B).

          If you answered “NO” to Question 1(A), STOP HERE AND PROCEED TO
          QUESTION 2.

     B.   Did American Capital Energy, Inc. breach that contract by failing to pay Mr.
          Ellicott monies due under the contract?

          YES_____________                      NO______________

          If you answered “YES” to Question 1(B), proceed to Question 1(C).

          If you answered “NO” to Question 1(B), STOP HERE AND PROCEED TO
          QUESTION 2.

     C.   Please state in numbers and words the total amount of damages you find that Mr.
          Ellicott has sustained as a result of American Capital Energy, Inc.’s breach of
          contract.

          $____________________________ (dollars)

           ____________________________ (words)

          PROCEED TO QUESTION 2.


2.   VIOLATION OF MASSACHUSETTS WAGE ACT

     A.   Did Defendants violate the Massachusetts Wage Act when they failed to pay Mr.
          Ellicott wages due?

          YES_____________                      NO______________

          If you answered “YES” to Question 2(A), proceed to Question 2(B).

          If you answered “NO” to Question 2(A), STOP HERE AND HAVE THE
          FOREPERSON SIGN THE VERDICT FORM.



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B.   Please state in numbers and words the total amount of damages you find that Mr.
     Ellicott has sustained as a result of Defendants’ violation of the Massachusetts
     Wage Act.

     $____________________________ (dollars)

      ____________________________ (words)


     In answering Question 2(B), do not reduce your finding because of any
     damages for which you may find American Capital Energy, Inc. responsible
     in answering Question 1(C). The Court will take into account your findings,
     if any, in Question 2(B) in determining what judgment to enter.


     PROCEED TO QUESTION 2(C).

C.   Was Thomas Hunton, President of American Capital Energy, Inc., substantially
     involved in in the management of American Capital Energy, Inc. at the time Mr.
     Ellicott ceased working at American Capital Energy, Inc.?

     YES_____________                     NO______________


     PROCEED TO QUESTION 2(D).

D.   Was Arthur Hennessey, Chief Financial Officer of American Capital Energy, Inc.,
     substantially involved in in the management of American Capital Energy, Inc. at
     the time Mr. Ellicott ceased working at American Capital Energy, Inc.?

     YES_____________                     NO______________


     PLEASE HAVE THE FOREPERSON SIGN THE VERDICT FORM.



                                          FOREPERSON’S SIGNATURE




                                          Date:

                                          Time:




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                               CERTIFICATE OF SERVICE

       I hereby certify that the attached document was filed through the ECF system and was
served electronically to the registered attorneys of record on December 21, 2016.


                                       /s/ Anthony L. DeProspo, Jr.
                                            Anthony L. DeProspo, Jr.




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